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AFFIDAVIT OF SERVICE

UNITED STATES DISTRICT COURT
District of New Jersey

Case Number: 1:17-CV-06546-JBS-JS

Joshua Somogyi and Kelly Whyle Somogyi, individually and on behalf of a
others similarily situated

VS.

Plaintiff:

 

 

 

 

ARC201700

7579

Defendant:
Freedom Mortgage Corp, et al,

For:
Eric Lechizin, Esq.

Received by Veritext Legal Solutions to be served on Freedom Mortgage Corp, 907 Pleasant Ave, Suite C, Mount
Laurel, NJ 08054.

I, PATRICIA EOSSO, being duly sworn, depose and say that on the Sth day of September, 2017 at 9:20 am, &:

served a CORPORATION by delivering a true copy of the SUMMONS & COMPLAINT WITH CIVIL COVER SHEET
to: Tia "Doe" Refused to provide last name as Managing Agent for Freedom Mortgage Corp, at the address of.
907 Pleasant Ave, Suite C, Mount Laurel, NJ 08054, and informed said person of the contents therein, in
compliance with state statutes.

Description of Person Served: Age: 30, Sex: F, Race/Skin Color: Black, Height: 5'5, Weight: 140, Hair: Black,
Glasses: x

totwerol. 9-5-4

PATRICIA EOSSO
Process Server

Subscribed and Sworn to before me
on Sep fy Zoe fo 7é2ec by the affiant who is Veritext Legal Solutions

personally known to me. : 1100 Superior Avenue

2th Suite 1820

: Cleveland, OH 44114
NOTARY PUBLIC (216) 592-9658

Our Job Serial Number: ARC-2017007579
Ref: 33037.001

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: UNITED STATES DISTRICT COURT

DISTRICT OF NEW JERSEY
JOSHUA SOMOGYI, ET AL.,
Plaintiff
Vv. SUMMONS IN A CIVIL CASE
FREEDOM MORTGAGE CORP.,
Defendant

CASE NUMBER: 1:17-CV—-06546-JBS—JS

TO: (Nante and address of Defendant):

Freedom Mortgage Corp.
907 Pleasant Avenue - Suite C
Mt. Laurel, NJ 08054

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it)
~~ or 60 days if you are the United States or a United States Agency, or an office or employee of
the United States described in Fed. R. civ. P. 12 (a)(2) or (3) -— you must serve on the plaintiff
an answer to the attached complaint or a motion under rule 12 of the Federal Rules of Civil
Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney, whose
name and address are:

Eric Lechtzin

Berger & Montague, P.C.
1622 Locust Street
Philadelphia, PA 19103

If you fail to respond, judgment by default will be entered against you for the relief
demanded in the complaint. You also must file your answer or motion with the court.

WILLIAM T. WALSH
CLERK

 

Ryan Sanders
(By) DEPUTY CLERK

 

 

ISSUED ON 2017-08-30 13:42:40, Clerk
USDC NJD
